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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS                        JAMES w ~
                                                                                 By:_    fll;J;,,d~~k
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UNITED STATES OF AMERICA                      )        No. 4:19CR00037       f!hfV'                            DEPCLERK
                                              )
V.                                            )        21   U.S.C.   §§ 841(a)(l), (b)(l)(A), 846
                                              )        18   U.S.C.   § 924(c)(l)(A)(i)
JOSE REYES-SANCHEZ,                           )        18   U.S.C.   § 3013
EMIDIO MANZANARES-CASTRO,                     )        18   U.S.C.   § 3571
      aka Emidio Manzaros,                    )        18   U.S.C.   § 3583
      aka Apple Amado Castroll-Leon           )
OMAR GILLIAM,                                 )
JAY HEAD,                                     )
DESHON CULBREATH,                             )
TERRI BLEVINS,                                )
RANDY HOUSMAN,                                )
JERENA WILLIAMS,                              )
AMANDA HOPKINS,                               )
SCOTTY DAWSON, and                            )
JOSHUA V ANESCH                               )

                                SUPERSEDING INDICTMENT

THE GRAND JURY CHARGES THAT:

                                          COUNT ONE

       From in or about November 2016, until on or about September 3, 2019, in the Eastern

District of Arkansas, and elsewhere, the defendants,

                                 JOSE REYES-SANCHEZ,
                             EMIDIO MANZANARES-CASTRO,
                     aka Emidio Manzaros, aka Apple Amado Castroll-Leon,
                                     OMAR GILLIAM,             .
                                        JAY HEAD,
                                  DESHON CULBREATH,
                                     TERRI BLEVINS,
                                   RANDY HOUSMAN,
                                   JERENA WILLIAMS,
                                   AMANDA HOPKINS,
                                  SCOTTY DAWSON, and
                                   JOSHUA V ANESCH,

voluntarily and intentionally conspired with each other, and with others known and unknown to

the grand jury, to knowingly and intentionally distribute and possess with intent to distribute 50
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grams or more of methamphetamine (actual), a Schedule II controlled substance; in violation of

Title 21, United States Code, Sections 841(a)(l) and (b)(l)(A).

       All in violation of Title 21, United States Code, Section 846.

                                         COUNT TWO

       On or about November 18, 2016, in the Eastern District of Arkansas, the defendant,

                                       OMAR GILLIAM,

knowingly and intentionally distributed five grams or more, but less than 50 grams, of

methamphetamine (actual), a Schedule II controlled substance, in violation of Title 21, United

States Code, Sections 841(a)(l) and 841(b)(l)(B).

                                       COUNT THREE

       On or about November 23, 2016, in the Eastern District of Arkansas, the defendant,

                                   JOSE REYES-SANCHEZ,

knowingly and intentionally distributed five grams or more, but less than 50 grams, of

methamphetamine (actual), a Schedule II controlled substance, in violation of Title 21, United

States Code, Sections 841(a)(l) and 841(b)(l)(B).

                                        COUNT FOUR

       On or about December 7, 2016, in the Eastern District of Arkansas, the defendant,

                                       OMAR GILLIAM,

knowingly and intentionally distributed five grams or more, but less than 50 grams, of

methamphetamine (actual), a Schedule II controlled substance, in violation of Title 21, United

States Code, Sections 841(a)(l) and 841(b)(l)(B).

                                         COUNT FIVE

       On or about March 2, 2017, in the Eastern District of Arkansas, the defendant,

                                   JOSE REYES-SANCHEZ,
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knowingly and intentionally distributed five grams or more, but less than 50 grams, of

methamphetamine (actual), a Schedule II controlled substance, in violation of Title 21, United

States Code, Sections 841(a)(l) and 841(b)(l)(B).

                                          COUNT SIX

       On or about August 11, 2017, in the Eastern District of Arkansas, the defendant,

                                     JERENA WILLIAMS,

knowingly and intentionally distributed five grams or more, but less than 50 grams, of

methamphetamine (actual), a Schedule II controlled substance, in violation of Title 21, United

States Code, Sections 841(a)(l) and 841(b)(l)(B).

                                        COUNT SEVEN

       On or about August 17, 2018, in the Eastern District of Arkansas, the defendant,

                                   JOSE REYES-SANCHEZ,

knowingly and intentionally distributed 50 grams or more of methamphetamine (actual), a

Schedule II controlled substance, in violation of Title 21, United States Code, Sections 841(a)(l)

and 841(b)(l)(A).

                                        COUNT EIGHT

       On or about October 10, 2018, in the Eastern District of Arkansas, the defendants,

                               JOSE REYES-SANCHEZ, and
                            EMIDIO MANZANARES-CASTRO,
                    aka Emidio Manzaros, aka Apple Amado Castroll-Leon,

knowingly and intentionally distributed 50 grams or more of methamphetamine (actual), a

Schedule II controlled substance, in violation of Title 21, United States Code, Sections 841(a)(l)

and 841(b)(l)(A).
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                                           COUNT NINE

        On or about November 29, 2018, in the Eastern District of Arkansas, the defendants,

                                JOSE REYES-SANCHEZ, and
                             EMIDIO MANZANARES-CASTRO,
                     aka Emidio Manzaros, aka Apple Amado Castroll-Leon,

knowingly and intentionally distributed 50 grams or more of methamphetamine (actual), a

Schedule II controlled substance, in violation of Title 21, United States Code, Sections 841(a)(l)

and 841(b)(l)(A).

                                           COUNT TEN

       On or about December 13, 2018, in the Eastern District of Arkansas, the defendant,

                             EMIDIO MANZANARES-CASTRO,
                     aka Emidio Manzaros, aka Apple Amado Castroll-Leon,

knowingly and intentionally possessed with intent to distribute 50 grams or more of

methamphetamine (actual), a Schedule II controlled substance, in violation of Title 21, United

States Code, Sections 841 (a)(l) and 841 (b )(1 )(A).

                                         COUNT ELEVEN

       On or about December 13, 2018, in the Eastern District of Arkansas, the defendant,

                             EMIDIO MANZANARES-CASTRO,
                     aka Emidio Manzaros, aka Apple Amado Castroll-Leon,

knowingly and intentionally possessed one or more of the following firearms, that is: a Hi-Point

.40 caliber firearm, bearing serial number 7257737, and a Deutche Werke .32 caliber firearm,

bearing serial number 11463 5, in furtherance of a drug trafficking crime prosecutable in a court

of the United States, that is: a violation of Title 21, United States Code, Sections 846 and

841(a)(l), as set forth in Counts One and Ten of this Indictment.

       All in violation of Title 18, United States Code, Section 924(c)(l)(A).
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                                      COUNT TWELVE

       On or about January 23, 2019, in the Eastern District of Arkansas, the defendant,

                                     JERENA WILLIAMS,

knowingly and intentionally distributed five grams or more, but less than 50 grams, of

methamphetamine (actual), a Schedule II controlled substance, in violation of Title 21, United

States Code, Sections 841(a)(l) and 841(b)(l)(B).

                                     COUNT THIRTEEN

       On or about June 12, 2019, in the Eastern District of Arkansas, the defendants,

                                    SCOTTY DAWSON, and
                                     RANDY HOUSMAN,

knowingly and intentionally possessed with intent to distribute 50 grams or more of

methamphetamine (actual), a Schedule II controlled substance, in violation of Title 21, United

States Code, Sections 841(a)(l) and 841(b)(l)(A).

                                     COUNT FOURTEEN

       On or about June 12, 2019, in the Eastern District of Arkansas, the defendant,

                                     RANDY HOUSMAN,

knowingly and intentionally possessed with intent to distribute five grams or more, but less than

50 grams, of methamphetamine (actual), a Schedule II controlled substance, in violation of Title

21, United States Code, Sections 841(a)(l) and 841(b)(l)(A).

                                      COUNT FIFTEEN

       On or about January 31, 2019, in the Eastern District of Arkansas, the defendant,

                                     AMANDA HOPKINS,

knowingly and intentionally distributed five grams or more, but less than 50 grams, of

methamphetamine (actual), a Schedule II controlled substance, in violation of Title 21, United

States Code, Sections 841(a)(l) and 841(b)(l)(B).
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                                       COUNT SIXTEEN

        On or about February 7, 2019, in the Eastern District of Arkansas, the defendant,

                                     AMANDA HOPKINS,

knowingly and intentionally distributed 50 grams or more of methamphetamine (actual), a

Schedule II controlled substance, in violation of Title 21, United States Code, Sections 841(a)(l)

and 841 (b )(1 )(A).

                                     COUNT SEVENTEEN

        On or about February 28, 2019, in the Eastern District of Arkansas, the defendant,

                                      JERENA WILLIAMS,

knowingly and intentionally distributed five grams or more, but less than 50 grams, of

methamphetamine (actual), a Schedule II controlled substance, in violation of Title 21, United

States Code, Sections 841(a)(l) and 84l(b)(l)(B).

                                      COUNT EIGHTEEN

        On or about February 28, 2019, in the Eastern District of Arkansas, the defendant,

                                     AMANDA HOPKINS,

knowingly and intentionally possessed with intent to distribute 50 grams or more of

methamphetamine (actual), a Schedule II controlled substance, in violation of Title 21, United

States Code, Sections 841(a)(l) and 841(b)(l)(A).

                                      COUNT NINETEEN

        On or about April 23, 2019, in the Eastern District of Arkansas, the defendant,

                                      JOSHUA V ANESCH,

knowingly and intentionally possessed with intent to distribute less than 50 grams of a mixture

and substance containing a detectable amount of methamphetamine, a Schedule II controlled

substance, in violation of Title 21, United States Code, Sections 841(a)(l) and 841(b)(l)(C).
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                                FORFEITURE ALLEGATION 1

        Upon conviction of any crime charged in Counts 1, through 19 of this Superseding

Indictment, the defendants, JOSE REYES-SANCHEZ, EMIDIO MANZANARES-CASTRO,

aka Emidio Manzaros, aka Apple Amado Castroll-Leon, OMAR GILLIAM, JAY HEAD,

DESHON CULBREATH, TERRI BLEVINS, RANDY HOUSMAN, JERENA WILLIAMS,

AMANDA HOPKINS, SCOTTY DAWSON, and JOSHUA VANESCH, shall forfeit to the

United States, under Title 21, United States Code, Section 853(a)(l), all property constituting, or

derived from, any proceeds the person obtained, directly or indirectly, as a result of the offense.

                               FORFEITURE ALLEGATION 2

        Upon conviction of any crime charged in Counts 1 through 19 of this Superseding

Indictment, the defendants, JOSE REYES-SANCHEZ, EMIDIO MANZANARES-CASTRO,

aka Emidio Manzaros, aka Apple Amado Castroll-Leon, OMAR GILLIAM, JAY HEAD,

DESHON CULBREATH, TERRI BLEVINS, RANDY HOUSMAN, JERENA WILLIAMS,

AMANDA HOPKINS, SCOTTY DAWSON, and JOSHUA VANESCH, shall forfeit to the

United States, under Title 21, United States Code, Section 853(a)(2), all of the person's property

used or intended to be used, in any manner or part, to commit, or to facilitate the commission of

the offense.

                               FORFEITURE ALLEGATION 3

       Upon conviction of any crime charged in Counts 1 through 19 of this Superseding

Indictment, the defendants, JOSE REYES-SANCHEZ, EMIDIO MANZANARES-CASTRO,

aka Emidio Manzaros, aka Apple Amado Castroll-Leon, OMAR GILLIAM, JAY HEAD,

DESHON CULBREATH, TERRI BLEVINS, RANDY HOUSMAN, JERENA WILLIAMS,

AMANDA HOPKINS, SCOTTY DAWSON, and JOSHUA VANESCH, shall forfeit to the

United States, under Title 18, United States Code, Section 924(d), Title 21, United States Code,
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Section 853, and Title 28, United States Code, Section 2461 (c), all firearms and ammunition

involved in the commission of the offense.
